Case: 7:20-cv-00140-JMH Doc #: 20 Filed: 11/03/21 Page: 1 of 1 - Page ID#: 1817



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        SOUTHERN DIVISION at PIKEVILLE


BRANDON T. HURLEY,                        )
                                          )
       Plaintiff,                         )                  Case No.
                                          )              7:20-CV-140-JMH
v.                                        )
                                          )                 JUDGMENT
                                          )
KILOLO KIJAKAZI,                          )
ACTING COMMISSIONER OF SOCIAL             )
SECURITY,                                 )
                                          )
       Defendant.                         )

                                     *****
       In      accordance     with    the        Court’s     Order     entered

contemporaneously herewith, Rule 58 of the Federal Rules of Civil

Procedure, and pursuant to 42 U.S.C. § 405(g),

       IT IS ORDERED and ADJUDGED as follows:

     (1)    Defendant    Commissioner’s       decision   denying   Plaintiff’s

            disability claim is AFFIRMED;

     (2)    Judgment is ENTERED in favor of Defendant Commissioner;

     (3)    All remaining claims for relief or pending motions are

            DENIED AS MOOT;

     (4)    This matter is DISMISSED and STRICKEN FROM THE COURT’S

            ACTIVE DOCKET; and

     (5)    This is a FINAL and APPEALABLE JUDGMENT, and there is no

            just cause for delay.

This the 3rd Day of November, 2021.
